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		OSCN Found Document:IN RE: FEE SCHEDULE FOR THE STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				IN RE: FEE SCHEDULE FOR THE STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS2019 OK 19Decided: 04/08/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 19, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN RE: FEE SCHEDULE FOR THE STATE BOARD OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS



ORDER



PURSUANT TO the provisions of 20 O.S. § 1506, the Court hereby approves and authorizes the attached Fee Schedule for the State Board of Examiners of Certified Shorthand Reporters. This schedule shall become effective April 12, 2019 and it shall supersede the Fee Schedule issued on November 12, 2009 by administrative order No. SCAD-2009-98.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 8TH day of APRIL, 2019.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



&nbsp;

FEE SCHEDULE


	
		
			
			Examination Fee  Oklahoma Resident

			(Exam parts may be taken separately)
			
			
			Skills  Testimony &amp; Proceedings (Q&amp;A)
			
			
			$60.00
			
		
		
			
			Skills  Literary Materials
			
			
			$60.00
			
		
		
			
			Written Knowledge Test
			
			
			$30.00
			
		
		
			
			TOTAL FOR COMPLETE EXAM
			
			
			$150.00
			
		
		
			
			Examination Fee 

			Non-Resident

			(Exam parts may be taken separately)
			
			
			Skills  Testimony &amp; Proceedings (Q&amp;A)
			
			
			$85.00
			
		
		
			
			Skills  Literary Materials
			
			
			$85.00
			
		
		
			
			Written Knowledge Test
			
			
			$30.00
			
		
		
			
			TOTAL FOR COMPLETE EXAM
			
			
			$200.00
			
		
	



	
		
			
			Application for Admission by Reciprocity

			
				Qualified applicants may be enrolled without taking skills examinations
				Fee includes one Oklahoma Written Knowledge Test
			
			
			
			$150.00
			
		
		
			
			Annual Certificate Renewal Fee
			
			
			$30.00
			
		
		
			
			Delinquent Payment Fee

			
				Assessed for failure to renew certificate on or before February 15
			
			
			
			$100.00
			
		
		
			
			Continuing Education Penalty Fee

			
				Assessed for failure to obtain the requisite number of continuing education hours on or before December 31 of the year in which they are required
			
			
			
			$100.00
			
		
		
			
			Continuing Education Suspension Fee

			
				Charged to any court reporter whose certificate has been suspended for failure to earn the required number of continuing education hours, to submit a completed compliance report, and/or to pay any applicable continuing education penalty fee on or before February 15
			
			
			
			$100.00
			
		
		
			
			Retired Status Reinstatement Fee
			
			
			$100.00
			
		
	


&nbsp;





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